                  Case 1:21-cv-03619-MLB Document 1-1 Filed 08/31/21 Page 1 of 10

                                                                                                                    E.FILED IN OFFICE - EP
                                                                                                                  CLERK OF STATE COURT
                                                                                                              GWINNETT COUNTY, GEORGIA
                                                                                                                         21-C-05543-S4
                                  IN THE STATE COURT OF GWTNNETT COLINTY                                             712812021 1:07 PM
                                                                                                                  TUTNA P. GARNER, CLERK

                                                       STATE OF GEORGIA
     A RMAN DO        ALAVREZ.BAZALAR
     8237 DUNWOODY PLACE BUILDING 18
                                                                                         crvrl-AcrroN        21-C-05543-S4
     ATLANTA, GA 30350
                                        PLAINTIFF




\.   eu I KrRrp        cJipoRA'oN
     JOHN DOE, JANE DOE,
     ABC CORP AND XYZ CORP
                                        DEFENDANT




                                                              SUMMONS

     TO THE ABOVE NAMED DEFENDANT:

       Yon are herohlr summoned rnd requirod to lilo rvith thc Clorh of oaid court and scn'c upon thc Plointiffs ottornc)i whosc nomc
     and address is: '
                                                         WILLIAM T. JO\TNER
                                                         HAUG LAW GROUP
                                                         8237 DUNWOODY PLACE BI.IILDING          18
                                                         ATLANTA, GA 30350

     an anelver to the complaint which is hercwith sen sd upon you, u'ithin 30 dayo aftcr ecrvicc of this summons upon you, cxcluoivc of
     the day of servicr- lf you fail to do so, judgment by defsult will bo trkon rgrinst )'ou for tho raticf dcmandcd in thc comploint.
                 28TH                             JULY                              2021
     This                      day of

                                                                                  TIANA P. GARNER
                                                                               @
                                                                                 Clerk of State Court




                                                                                              Deputy Clerk

     INSTRTICTIONS: Attach rddendum sheet for additionat parties if neodad, makc notation on this shcet if oddcndum shect is ugcd,

     SC-l Rev. 20ll




                                                                                                                          EXHIBIT

                                                                                                                   IA
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                                                                                                  E-FILED IN OFFICE. EP
                                                                                                CLERK OF STATE COURT
                                                                                            GWINNETT COUNTY. GEORGIA
                                                                                                     21-C-05543-S4
                                                                                                  7nU2A21 1:07 PM
                                                                                                TIANA P. GARNER, CLERK

                         IN THE STATE COURT OF GWINNETT COUNTY
                                    STATE OF GEORGIA

ARMANDO ALVAREZ,BAZALAR,                        )
                                                )
           Plaintiff,                           )
                                                )
v.                                              )        CryILACTION         21-c-05s43-S4
                                                )        FILE NO:
QUIKTRtr CORPORATION, JANE DOE, )
JOHN DOE, XYZ CORP, and          )
ABC CORP,                                       )
                                                )
           Defendants.                          )
                                                )

                                              CouPr,lrnr

           COMES NOW, ARMANDO ALVAREZ-BAZALAR (Plaintiff;, by and througb the

undersigned counsel and hereby files this Complaint against QUIKTRIP CORPORATION,

(Defendant) and shows this Honorable Court as following:

                                            IntRooucttox

           The preceding paragraphs and allegations are hereby incorporated herein by refereli.:e as

if fully   set forth herein.

                                                    l.

           Served with this Complaint are Plaintiff s Interrogatories to Defendant,   Plaintiffs Request

of Production to Defendant, and Plaintiff s Request for Admission to Defendant.

                                  Pnnrlnq. Juntsotcrton nxo VsNun

           The preceding paragraphs and allegations are hereby incorporated herein by reference as

if fully set forth herein.
      Case 1:21-cv-03619-MLB Document 1-1 Filed 08/31/21 Page 3 of 10




        Plaintiff is an individual and resident of Dekalb County, Georgia and submits to the

jurisdiction and venue of this Court.

                                                      3.


        Jurisdiction is proper at to Defendant because Defendant is registered to do business in the

state of Georgia.

                                                      4.


        Venue is proper as to Defendant because Defendant's registered agent is located in

Gwinnett County, Georgia,

                                                      5.


  .     Defendants registered agent, CT Corporation System may be serued with a copy c'f this

Complaint and Summons at 289 S. Culver Street, Lawrenceville, Georgia 30045.

                                    Flcrs Arpr,rcenr,n Io Alr,9P.uvrs
        Plaintiff hereby incorporates by reference the allegations contained in this Complaint for

Damages and reassert said allegations as if fully set forth herein'

                                                      6.


        On or aboutAugust         16,z}Ig,the   date of her injuries, Plaintiffwas an invitee of Defendant

in accordance with the provisions of O.C.G.A. $ 51-3-1, et seq., while QuikTrip located at 6065

Singleton Road, Norcross, Georgia, 30093 (hereinafter "the premises").

                                                       7.

        Pl4intiff,rvhile   a   lawful invitee on,the premises, was getting off his.truck when he st.:pped

onto the floor and the concrete was wet with a mixture of gas and oil. As he stepped onto the

concrete, Plaintiff slipped and tanded directly on his back.
    Case 1:21-cv-03619-MLB Document 1-1 Filed 08/31/21 Page 4 of 10




                                                  8.


       As a result of the fall, Plaintiff suffered serious bodily injuries, requiring subsequent

medical treatment.

                                      Couxt I - Npcl,tcBNcn

       Plaintiff hereby incorporates by reference the allegations contained in this Complaint for

Damages and reassert said allegations as   if fully   set forth herein'

                                                  9.

       The Defendanr failed to meet common law and statutory duties pursuant to O'C.G.A. $$

51-3-1 and 5l-3-2, et al., to exercise ordinary care in keeping the premises and approaches safe

and to protect   Plaintifffrom unreasonable risks of foreseeable harm.

                                                  10.


       The Defendant was negligent in failing to keep the premises safe and in repair, as required

by law. As the direct and proximate result of Defendant's negligence in failing to keep the

premises safe, Plaintiffslipped on liquid on the floor, causing her to sustain personal injuries now

and in the future, including bodily injury, pain and suffering.

                                                  I   l.

        As a direct and proximate result of Defendant's negligence, Plaintiff incurred medical

expenses,   in an amount to be proven at trial, for the treatment of      the.   injwies Plaintiff sustained

that were causEd solely and proximately by Defendants' negligence'

                                                  t2.

        As.a direct and proximate result of the.Defendant's negligence, Plaintiff will.incur future

medical expenses, in an amount to be proven at trial, for the treatrnent of the injuries caused solely

by the negligence of the Defendant.
    Case 1:21-cv-03619-MLB Document 1-1 Filed 08/31/21 Page 5 of 10




                                                  13.


       As a direct and proximate result of the Defendant's negligence, Plaintiff incurred lost

wages in an amount to be proven at trial.

                                                  t4.

       Plaintiff is entitled to recover of Defendant such rcasonable sums    as compensatory, general


and speoial damages as may be shown by the evidence.

                                                  15.


        The Defendant.had actual or constructive knowledge of the condition or conditions on the

premises which led to the Plaintiffls injuries.

                                                   16.


        Plaintiff was without fault in causing the aforementioned incident.


        WHEREFORE, the Plaintiff Prays:

1       That Defendant be served with summons, process and a copy of this Complaint

        as provided   by law;

)       That Plaintiff obtain judgment against the Defendant for general and special damages             as


        determined at trial as well as costs of litigation and expenses;

5       That the Plaintiff be granted a trial by jury as to all triable issues in this cause; and

4       For such other and further relief as this Court deems just and equitable under all

        circumstances alleged and contained herein.

        This 28s day of July 2021.


                                                                        HAUG LAW GROUP, LLC
8237 Dunwoody Place
                                                                       /s/ WiIIiam T..Ioltner
Atlanta, Georgia 30350
Phone: 470-258-1322
                                                                       Wiffiu* T. "Biliy" Joyner
                                                                       Georgia Bar No.: 222755
Fax: 678-528-2999
                                                                       Att o rn ey -fo r P I ain t iff
Email: wjoyner@hauglaw group.com
      Case 1:21-cv-03619-MLB Document 1-1 Filed 08/31/21 Page 6 of 10                                  E-FILED IN OFFICE . JM
                                                                                                     CLERK OF STATE COURT
                                                                                                 GWINNETT COUNTY, GEORGIA
                                                                                                           21-C-05543-S4
                                                                                                       8,3U2A213:21 PM
                                                                                                    TIANA P. GARNER, CLERK

                        IN THE STATE COURT OF GWINNETT COUNTY

                                          STATtr OF'GEORGIA

ARMANDO ALVAREZ-BAZALAR,                           )
                                                   )
       Plaintiff,                                  )
                                    )                        CWIL AC'I'ION
v                                   )
                                    )                        I?ILE NO.     2   1   -C-05543-S4
QUIKTRIP  CORPORATION,   JANE l)OE, )
JOIIN DOE, XYZ CORP, and            )
ABC CORP,                           )
                                    )
      Defendants.                   )
                                    )

                                       DErENqps..AND A|j$,JVES,

        COMES NOW, Defendant QUIK'IRIP CORPORATION, appearing specially and
                                                                            without

                                                                                     and Answert<:
submitting to the jurisdiction and venue of tlris Court, and files this its Defenses

Plaintiff   s   Complaint fbr Darnages, and shows the Court as follows:

                                             ffisl."D$T4l{sm
        The      plaintiff s Complaint fails to state a claim   against Detbndant upon which relief can be


granted.

                                            SECOND DEFENSE

        Jurisdiction is improper as to Defendant.

                                             I]IIIRD DEFENSE

        Venue is improper as to f)efendant'

                                            FOURTH I}EFENSE
                                                  ANSWERT

        Defendaut responds to the allegations of        lllaintiff   s   Complaint as follows:




                                                       -t-
         Case 1:21-cv-03619-MLB Document 1-1 Filed 08/31/21 Page 7 of 10




                                                             l"

          Delbndant adrnits the averments contained in paragraph              l    tl.f   Plaintiff s Complaint'

                                       lla rtl*$.   J   $jp.tl-i*tiqn and Venuq

          Def'enciant incgrporates by reference its response to paragraph                    i   of Plaintiff s Complaint

as   if fully   set lbrth hereir belorv.

                                                             2.

                                                                                       as to the truth
          Defegclant is without knowleclge and infbrmation su{licient to fcrm a belief

of the avennents contaiued in paragraph 2 ollPlaintiff s Ciornplaint.




           Defendant denies the a.yermenls containecl in paragraph 3 of Plaintifll.s Cornplaint.

                                                              4.


           Defendant denies the auerments contained in paragraph 4 ol'Plaintiff s Complaint'

                                                              5,


           Defendant denies the averments contained in paragraph 5 of Plaintiff s Complaint,

                                           Fqcts APnlicqtrle to      All Clairy$

           Defeldapt incorporates by ref'erence its responses to paragraphs 1-5                             ol   PlaintifPs


Complaint as if fully set forth herein below"

                                                              6.


           Defendant denies the avermenls contained in paragraph 6 of. Plaintiff s Complaint.

                                                              7.


           I)efenclant denies the averments contained in paragraph ? of                    Plaintifls Cornplaint.

                                                              8.


           Defegdant denies the averments contained in paragraph                  I   of Plaintilf s Complaint.




                                                              -1.-
       Case 1:21-cv-03619-MLB Document 1-1 Filed 08/31/21 Page 8 of 10




                                       Count I'Nesliqence.

       Defendant incorporates by reference       its   responses   to paragraphs 1-8 of       Plaintilll's

Complaint as ili fuliy set fbrth herein below'

                                                 9.

                                                            g
       Defendant denies the averments contained in paragraph of Plaintifl's Complaint"

                                                 10.


        Delen4anr denies the averments contained in pzu'agraph 10 of I']laintiff s Complaint'

                                                 11.


        Defen<lant ilenies the a,rermelts coutained in paragraph    ll   of Plaintiff s Complaint'

                                                 r2.

        Defendant denies the avennents contained in paragraph t2 of Plaintiff s Cornplaint.

                                                 13.


        Defenclant denies the a.rerments contained in paragraph     l3 of Plaintiff s Complaint.

                                                 14.

        f)efenclant denies rhe avennents contained in paragraph     l4 of Plaintiff s Complaint.

                                                 15.


        Defbndant clenies the averments contained in paragraph 15 of Plainti{f s Complaint.

                                                 16.


        Defendalt denies the averments contained in paragraph 16 of lllaintiff       s   Complaint'

                                          FIF'l''H DETENSA

                                                                                      with the
        Defendant denies each and every averment contained in the paragraph beginning

       ..WHEREITORE" in the plainti.fl's cornplaint. Any allegations or averments contained in
word

Plaintifls Complaint not specifioally responded to above a1e hereby denied.



                                                 -3-
      Case 1:21-cv-03619-MLB Document 1-1 Filed 08/31/21 Page 9 of 10




      WHEREFORE,Def'errdantQUIKTRIPC0RPORA.I'ION,havingfullyanswefed,

demands that   it   be discharged            all costs cast upon the Plaintiff.
                                    "rrith
                                                       Respectfully submitted,

                                                       DOWNEY & CLEVELAND, LLP




                                                       By: ,      /.s/ Se.
                                                                  SEAN I,. HYNES
                                                                  Georgia State Bar No. 381698
                                                                  hynes@downeYcleveland'com
                                                                  AtlomeYs for Defendant

Downey & Cleveland, L[.,P
288 Washington Avenue
Marietla, GA 30060-i979
T:77A-422-3233
F:170-423-4199




                                                            -4-
     Case 1:21-cv-03619-MLB Document 1-1 Filed 08/31/21 Page 10 of 10




                                  CEBTIFICAT& OF SERVTCH

       This is to certiff that t have this day sewed the following counsel of resord
                                                                                     with a true and

                                                                                   said copy in the
oorrect copy of the foregoing pleading via electronic service and/or by depositing

I.lnited States Mail, with sufficient postage allixed thereon, and properly addressed
                                                                                      to the

following:

       Williarn'I. Joyner, Esq'
       Haug Law Group, LLC
       8237 Dunwoody Place
       Atlanta, Ca 30350

       This 30tr'day of August,2021'

                                              DOWNEY & CLEVELAND, LLP




                                                             L
                                                       Georgia State BarNo. 381698




                                                 ;5-
